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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )          Criminal Action No. 1:25-cr-44 (RDA)
                                             )
ABDULLAH EZZELDIN TAHA                       )
MOHAMED HASSAN,                              )
                                             )
       Defendant.                            )

                                            ORDER

       This matter came before the Court on June 11, 2025, for a CIPA Section 2 Hearing. During

the hearing, the Government requested a deadline for CIPA Section 4 information to be set. The

parties further indicated that they do not believe that CIPA Sections 5 and 6 are relevant at this

time. Accordingly, for the reasons stated from the bench, it is hereby

       ORDERED that an ex parte and under seal hearing is SCHEDULED for August 13, 2025

at 11:00 a.m. pursuant to CIPA Section 4; and it is

       FURTHER ORDERED that the Government is DIRECTED to submit any such materials

at least two weeks in advance of the hearing so that the Court may have an opportunity to review

them; and it is

       FURTHER ORDERED that a status conference is set in this case for August 27, 2025 at

11:00 a.m.

       The Clerk is directed to forward copies of this Order to counsel of record.

       It is SO ORDERED.

Alexandria, Virginia
June 11, 2025
